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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

MARCUS MONTEZ SPANGLER,                    )
#188 712,                                  )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )   CIVIL ACTION NO. 2:20-CV-284-RAH
                                           )
SGT. RANDOLPH, et al.,                     )
                                           )
       Defendants.                         )


                                           ORDER

       This case is before the Court on a Recommendation of the Magistrate Judge entered on

October 13, 2020. (Doc. 18.) There being no timely objections filed to the Recommendation, and

after an independent review of the file, the Recommendation is ADOPTED, and it is hereby

       ORDERED that this case is DISMISSED without prejudice.

       A Final Judgment will be entered separately.

       DONE, this 10th day of November, 2020.


                                           /s/ R. Austin Huffaker, Jr.
                                    R. AUSTIN HUFFAKER, JR.
                                    UNITED STATES DISTRICT JUDGE
